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November 11, 2024




BY ECF

Hon. Alvin K. Hellerstein
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

          Re: United States v. Sung Kook (Bill) Hwang et al., No. 22 Cr. 240 (AKH)

Dear Judge Hellerstein:

       On behalf of our client, Bill Hwang, we write to submit additional letters in support of
Mr. Hwang. The letters are Exhibits A-11 through A-20, which were inadvertently left off the
previous filing at Dkt. No. 336-2.

          Thank you for your consideration.



                                                                        Respectfully submitted,



                                                                        Barry H. Berke
                                                                        Dani R. James
                                                                        Michael Martinez
                                                                        Jordan Estes

cc:       Counsel of Record (via ECF)




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